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EXHIBIT 1
                                                             Case 23-11069-CTG                    Doc 1506-1       Filed 12/28/23         Page 2 of 7
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                                                       1   JACOBY & MEYERs ATTORNEYS LLP                                      S‘gggﬁ 8F SAﬁﬁé‘Bﬁ‘é‘wﬁrgm
                                                           SHANEhHAPUAgACHthat; Bar No. 271887                                     SAN BERNARD
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                                                           JUBIN J. NIAMEHR, State Bar No. 266794
                                                       4         jn 'acobyandmeyers.com                                                                    Es
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                                                           10900 W1 shire Boulevard, 15th Floor                                    McQueuNE
                                                       5   Los Angeles, California 90024

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                                                           Te1.(310)312-3300|Fax.(310)715-8331
                                                                                                                      FILED BY FAX
                                                       7   Attorneys for Plaintiff            AARON MISQUEZ
                                                       8
                                                                                       SUPERIOR COURT 0F THE STATE 0F CALIFORNIA
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                                                                                                    COUNTY 0F SAN BERNARDINO
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LLP                                                                                                                                                                           g
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            Floor




            15th
                         90024
                                      (310)




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                                                           AARON MISQUEZ, an individual;                               Case No.:    CW SB 2 2 0 5 5 9                         ‘i



ATTORNEYS




                                      Facsimile:
                                                                     Plaintiff,                                        COMPLAINT FOR DAMAGES FOR
                         California
                                                   13
            Boulevard,




                                                           vs.                                                          1.   NEGLIGENCE
                                                   14
                                      2-3300



                                                           STEVEN RYKBOS, an individual; YRC INC,
MEYERS




            Wilshire
                         Angeles,




                                      31           15      a corporation, and DOES 1 through 50,
                                                                                                                       DEMAND FOR JURY TRIAL
&                                     0)
                                                           inclusive,
                                      (31
                         Los                       16
JACOBY
            10900


                                                                     Defendants.
                                      Telephone:
                                                   1   7


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                                                   19      COMES NOW Plaintiff AARON MISQUEZ who complains and alleges as follows:
                                                   20                                                 JURISDICTION AND VENUE
                                                   21                1.            Plaintiff   AARON MISQUEZ (“Plaintiff”)          is,   and   at all relevant          times was, a

                                                   22      resident of Pomona, County of Los Angeles, State of California.

                                                   23                2.            Plaintiﬁ‘ is informed and believes, and thereupon alleges that at all times mentioned

                                                   24      herein,       Defendant      STEVEN RYKBOS, an individual, was a resident of Banning, County of
                                                   25      Riverside, State of California.

                                                   26                3.            Plaintiff is informed    and believes and thereon alleges that,              at all   times herein

                                                   27      mentioned, defendant YRC INC., (hereinaﬁer “YRC,,), was and is a corporation authorized to do

                                                   28      business and doing business in the County of San Bernadine; State of California. Plaintiff is



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                                                                                       PLAINTIFF’S COMPLAINT FOR PERSONAL INJURIES
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                                                      1    further informed and believes and thereon alleges that, at all times herein mentioned, YRC is
                                                      2    licensed as a general freight carrier in the County of San Bernardino, State of California, operating
                                                      3    under USDOT Number 71821.
                                                      4           4.      The true names and capacities, whether individual, plural, corporate, partnership,
                                                      5    associate or otherwise of DOES 1 through 50, inclusive, are presently unknown to Plaintiff, who
                                                      6    therefore sues said Defendants by such fictitious names. The full extent of the facts linking such
                                                      7    factiously sued Defendants with the causes of action alleged herein is unknown to Plaintiff.
                                                      8    Plaintiff is informed and believes, and thereupon alleges, that each of the Defendants designated
                                                      9    herein as a DOE was and is negligently, carelessly, recklessly, unlawfully, tortuously, wantonly,
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                                                      10   wrongfully, illegally, or in some other actionable matter, responsible for the events and
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                                                      11   happenings hereinafter referred to, and thereby negligently, carelessly, recklessly, unlawfully,
          Los Angeles, California 90024




                                                      12   tortuously, wantonly, wrongfully, and illegally proximately caused the hereinafter described
                                                      13   injuries and damages to Plaintiff. Plaintiff will later file an amendment to this Complaint or seek
                                                      14   leave of Court to amend this Complaint to show Defendants’ true names and capacities after the
                                                      15   same has been ascertained.
                                                      16          5.      Plaintiff is informed and believes, and thereupon alleges, that at all times
                                                      17   mentioned herein, Defendants, and each of them, including DOES 1 through 50, inclusive, and
                                                      18   each of them, were agents, servants, employees and joint venturers of each other, and were, as
                                                      19   such, acting within the course, scope and authority of said agency, employment and joint venture,
                                                      20   and that each and every Defendant, as aforesaid, when acting as a principal, was negligent in the
                                                      21   selection and hiring of each and every Defendant as an agent, employee, contractor, subcontractor
                                                      22   and joint venture, and that each Defendant, by and through its officers, officials, directors,
                                                      23   managers, supervisors and/or managing agents, authorized, ratified and otherwise approved the
                                                      24   acts of the remaining Defendants, and that said officers, directors, or managing agents participated
                                                      25   in said acts with the Defendants, including DOES 1 through 50, inclusive, and each of them.
                                                      26                                     FIRST CAUSE OF ACTION
                                                      27                                  (Negligence against All Defendants)
                                                      28          6.      Plaintiff repeats, realleges, and incorporates by this reference as though set forth in


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                                                                              PLAINTIFF’S COMPLAINT FOR PERSONAL INJURIES
                                                                   Case 23-11069-CTG         Doc 1506-1      Filed 12/28/23    Page 4 of 7




                                                      1    full herein all prior allegations of this Complaint.
                                                      2            7.     Plaintiff is informed and believes, and thereon alleges, that at all times herein
                                                      3    mentioned, defendants YRC and DOES 1 through 20, were the owners of the vehicle which was
                                                      4    involved in a collision with Plaintiff, and which is referred to herein as the “2009 VOLVO 3
                                                      5    AXLE TRACTOR”.
                                                      6            8.     Plaintiff is informed and believes, and thereon alleges, that at all times herein
                                                      7    mentioned, defendants STEVEN RYKBOS and DOES 21 through 30, were driving and/or in
                                                      8    control of the 2009 VOLVO 3 AXLE TRACTOR as described in paragraph 7 herein with the
                                                      9    express and implied knowledge, permission and consent of the remaining defendants, and each of
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                                                      10   them.
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                                                      11           9.     At all times herein mentioned, Interstate 10 and Sierra Avenue were and are public
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                                                      12   streets and/or highways in Fontana, County of San Bernardino, State of California.
                                                      13           10.    Plaintiff is informed and believes, at all times herein, Defendants owed a duty of
                                                      14   care to all reasonably foreseeable people, including Plaintiff, to own, manage, maintain, control,
                                                      15   entrust, and operate their respective vehicles in a reasonable manner, as codified in, without
                                                      16   limitation, Civil Code section 1714 and Vehicle Code section 22350.
                                                      17           11.    Plaintiff is informed and believes, and thereon alleges, that on or about December
                                                      18   12, 2021, Plaintiff was standing outside his vehicle on Interstate 10 Eastbound near Sierra Avenue
                                                      19   when the 2009 VOLVO 3 AXLE TRACTOR collided into Plaintiff. At said time and place, the
                                                      20   defendants, and each of them, breached their duty of care by so negligently and recklessly owned,
                                                      21   controlled, maintained, repaired, leased, used, rented, operated, permitted, entrusted, supervised,
                                                      22   managed and drove their vehicles, so as to cause the same to violently collide with Plaintiff,
                                                      23   thereby damaging the property and injuring Plaintiff as herein set forth.
                                                      24           12.    As a direct and legal result of the conduct of the defendants, and each of them,
                                                      25   Plaintiff was hurt and injured in Plaintiff’s health, strength, and activity, sustaining injury to
                                                      26   Plaintiff’s body and shock and injury to Plaintiff’s nervous system and person, all of which said
                                                      27   injuries have caused and continue to cause Plaintiff great mental physical and nervous strain, pain
                                                      28   and suffering. Plaintiff is informed and believes, and thereon alleges, that Plaintiff will thereby be


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                                                                               PLAINTIFF’S COMPLAINT FOR PERSONAL INJURIES
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                                                      1    permanently disabled all to Plaintiff’s general damages in an amount which is not known at this
                                                      2    time. Plaintiff will ask leave to amend this complaint at such time as the exact amount of this
                                                      3    damage is ascertained or proved at time of trial.
                                                      4           13.     As a direct and legal result of the conduct of the defendants, and each of them,
                                                      5    Plaintiff was required to and did employ physicians, surgeons and other health care providers to
                                                      6    examine, treat, and care for Plaintiff and did incur and will incur medical and related expenses,
                                                      7    and will need to hire and retain healthcare providers for future care and treatment, the exact
                                                      8    amount of which are not known at this time. Plaintiff will ask leave to amend at such time as the
                                                      9    exact amount of this loss is ascertained or proved at time of trial.
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                                                      10          14.     As a direct and legal result of the conduct of the defendants, and each of them,
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                                                      11   Plaintiff has been prevented from performing the duties normally required of him in his business
          Los Angeles, California 90024




                                                      12   and occupation, and has suffered, and will continue to suffer, lost and diminished income,
                                                      13   earnings and earning capacity, the future earning capacity of Plaintiff has been impaired, all to the
                                                      14   Plaintiff’s further loss, in an amount not known at this time. Plaintiff will ask leave to amend this
                                                      15   Complaint to set forth the exact amount, extent and nature of this loss when same has been
                                                      16   ascertained or proven at time of trial.
                                                      17          15.     As a direct and legal result of the conduct of the defendants, Plaintiff’s vehicle was
                                                      18   damaged, and plaintiff suffered a loss of use of plaintiff’s vehicle, all to his further damage in an
                                                      19   exact amount according to proof at time of trial.
                                                      20

                                                      21                                         PRAYER FOR RELIEF
                                                      22          WHEREFORE, Plaintiff prays for judgment against the Defendants, and each of them, as
                                                      23   follows:
                                                      24          1.      For past and future general damages, according to proof;
                                                      25          2.      For past and future medical expenses, according to proof;
                                                      26          3.      For past and future lost earnings and lost earning capacity, according to proof;
                                                      27          4.      For pre- and post-judgment interest;
                                                      28          5.      For costs of suit incurred herein;


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                                                      1          6.     For such other and further relief as the Court deems just and proper.
                                                      2
                                                           Dated: March 21, 2022                              JACOBY & MEYERS ATTORNEYS LLP
                                                      3

                                                      4
                                                                                                              By: ______________________________
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                                                                                                                     Shane Hapuarachy
                                                      6                                                              Greta Curry
                                                                                                                     Attorneys for Plaintiff, AARON
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                                                                                                                     MISQUEZ
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                                                      1                                  DEMAND FOR TRIAL BY JURY
                                                      2          Plaintiff hereby demands a trial by jury on all issues triable by jury.
                                                      3
                                                           Dated: March 21, 2022                                JACOBY & MEYERS ATTORNEYS LLP
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                                                                                                                By: ______________________________
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                                                                                                                        Shane Hapuarachy
                                                      7                                                                 Greta Curry
                                                                                                                        Attorneys for Plaintiff, AARON
                                                      8                                                                 MISQUEZ
                                                      9
Telephone: (310) 312-3300 Facsimile: (310) 715-8331




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      JACOBY & MEYERS ATTORNEYS LLP
       10900 Wilshire Boulevard, 15th Floor




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          Los Angeles, California 90024




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                                                                             PLAINTIFF’S COMPLAINT FOR PERSONAL INJURIES
